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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
SUSAN M. BOYD, )
Plaintiff, )
V. ) Civil Action No.: 09 CV 4889
LOYOLA UNIVERSITY HEALTH SYSTEM, et al. ) Judge Joan B. Gottschall
Defendants. ) Magistrate Judge Soat Brown

LOYOLA UNIVERSITY HEALTH SYSTEM’S AND LOYOLA
UNIVERSITY OF CHICAGO’S MOTION TO DISMISS

Loyola University Health System (incorrectly sued as “Loyola University Health System
fka, and aka Loyola University Medical Center”) and Loyola University of Chicago (incorrectly
sued as “Loyola University Chicago — Stritch School of Medicine”), (collectively, the “Corporate
Defendants”) respectfully submit this Rule 12(b)(6) Motion to Dismiss the claims alleged in
Paragraphs 137, 141-142 and 144-150 of Plaintiff's Complaint because Plaintiff fails to state
actionable tort claims or statutory claims under the Rehabilitation Act, the False Claims Act and
the Fraud Enforcement and Recovery Act of 2009. Further, tort claims against an employer are
barred under two Illinois employment statutes. In support of their motion, the Corporate
Defendants state as follows:

1. Plaintiff, a Caucasian woman, alleged 23 redundant, overlapping and even non-
existent causes of action ranging from race, color, gender, national origin and age discrimination
and retaliation to the False Claims Act to “loss of consortium, credit standing and status in

community.”
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2. Plaintiff fails to allege facts to support her statutory claims under the
Rehabilitation Act of 1973, the False Claims Act, and the Fraud Enforcement and Recovery Act
of 2009, or her tort claims for negligent or intentional infliction of emotional distress, tortious
interference with a business relationship, and loss of consortium;

3. Plaintiff's claims of “failure to adequately investigate,” “loss of credit standing”
and “loss of status in community” are not legal actions recognized by statute or common law.

4. Plaintiff's tort claims are further barred under the Illinois Human Rights Act and
the Illinois Worker’s Compensation Act.

5. The bases for this motion are set forth in greater detail in the accompanying
Memorandum of Law.

WHEREFORE, Loyola University Health System and Loyola University of Chicago
respectfully request that the Court enter an Order granting their motion to dismiss the claims
against them alleged in Paragraphs 137, 141-142 and 144-150 of Plaintiff's Complaint, with
prejudice, and that they be awarded such other relief as may be just and proper.

Respectfully submitted,
By: __/s/ Brent J. Graber
One of the Attorneys for Defendants

Loyola University Health System
Loyola University of Chicago

 

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